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                          UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC.,

                               Plaintiff,
                                                             Civil Action No. 1:14-cv-14176-ADB
       v.

PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,

                               Defendant.

                                      NOTICE OF APPEAL
       Plaintiff, Students for Fair Admissions, Inc., now appeals to the United States Court of

Appeals for the First Circuit this Court’s final judgment entered on October 1, 2019.

 Dated: October 4, 2019                                      Respectfully submitted,


                                                               /s/ William S. Consovoy
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                                   CERTIFICATE OF SERVICE
          I certify that this document was filed via the CM/ECF system, which will notify all counsel of

record.

                                                           /s/ William S. Consovoy
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